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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: CHINESE-MANUFACTURED DRYWALL             )                  MDL NO. 2047
PRODUCTS LIABILITY LITIGATION                   )
                                                )                  SECTION: L
                                                )
                                                )                  JUDGE FALLON
                                                )                  MAG. JUDGE WILKINSON
________________________________________________)

THIS DOCUMENT RELATES TO ALL CASES

PLAINTIFFS’ STEERING COMMITTEE’S MOTION TO COMPEL PRODUCTION OF
 DOCUMENTS & FURTHER JURISDICTIONAL DEPOSITIONS OF THE TAISHAN
                   DEFENDANTS & FOR SANCTIONS

       NOW INTO COURT, comes the Plaintiffs’ Steering Committee (“PSC”), who moves this

Court for an Order compelling production of documents and further jurisdictional depositions of

the Taishan Defendants and for sanctions. The PSC served interrogatories and requests for

production of documents concerning jurisdictional issues upon Defendants Taishan Gypsum Co.

Ltd. (“TG”) and Taian Taishan Plasterboard Co. Ltd. (“TTP”), (collectively, the “Taishan

Defendants”). The Court is familiar with this in light of the PSC’s Motion Challenging the

Adequacy and Completeness of the Discovery Responses by The Taishan Defendants, filed

January 12, 2011 (see Rec. Doc. 6964) and the PSC’s Renewed Motion Challenging the Adequacy

and Completeness of the Discovery Responses, filed February 9, 2011 (see Rec. Doc. 7364).

Copies of the relevant Discovery at issue are incorporated in the prior Motions filed by the PSC

and in order to not be redundant the discovery is not copied again. The prior Motions filed by the

PSC are referenced and incorporated herein. The Court issued orders relating to the prior Motions

on January 20, 2011 [Rec. Doc.7136] and on February 16, 2011 [Rec. Doc. 7511]. As is more


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fully set forth in the accompanying memorandum in support, the Taishan Defendants have been

less than forthcoming and obstreperous with their discovery responses, document production,

production of witnesses for Rule 30(b)(6) depositions, and their conduct during the 30(b)(6)

depositions. Accordingly, the PSC moves the Court to compel production of the documents set

forth in the accompanying memorandum in support, for further depositions of the witnesses and

for sanctions.

   WHEREFORE, the PSC respectfully requests that this Honorable Court set an expedited

hearing on this matter for May 11, 2011, and that the Court order: 1) the Taishan Defendants to

produce the documents requested; 2) to produce witnesses for deposition knowledgeable of the

Profile Forms; 3) to produce Mr. Cher and Yang for deposition; and 4) to sanction the Taishan

Defendants for their conduct in discovery, including, but not limited to the costs of: travel, lodging,

food, court reporters, videographer, and the rental of the conference room for the depositions in

Hong Kong the week of April 4th, all as set forth in the accompanying memorandum.

                                               Respectfully Submitted,

Dated: May 3, 2011
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing pleading has been served on Defendants’
Liaison Counsel, Kerry Miller, by U.S. Mail and e-mail or by hand delivery and e-mail and upon
all parties by electronically uploading the same to LexisNexis File & Serve in accordance with
Pre-Trial Order No. 6, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System,
which will send a notice of electronic filing in accordance with the procedures established in MDL
2047, on this 3rd day of May, 2011.

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